            Case 4:16-cv-00842-KGB Document 1 Filed 11/16/16 Page 1 of 5
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

CHRIS JENSEN,
an individual

       Plaintiff,

vs.

APPLE VALi CRESTNWA, LLC

       Defendant.


                                           COMPLAINT

       Plaintiff, Chris Jensen ("Plaintiff') by and through the undersigned counsel, hereby files this

Complaint and sues APPLE VALI CREST NWA, LLC, for injunctive relief, attorney's fees and costs

pursuant to 42 U.S.C. §12181 et seq., ("Americans with Disabilities Act" or "ADA") and alleges:

                                JURISDICTION AND PARTIES

       1.       This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter referred to as the "ADA").

This Court is vested with originaljurisdiction under 28 U.S.C. Sections 1331and1343.

       2.       Venue is proper in this Court, the Eastern District of Arkansas pursuant to 28 U.S.C.

§1391 (B) and Local Rules of the United States District Court for the Eastern District of Arkansas.

       3.       Plaintiff, Chris Jensen (hereinafter referred to as "Jensen") is a resident of the State

of Arkansas and is a qualified individual with a disability under the ADA. Jensen suffers from

what constitutes a "qualified disability" under the Americans with Disabilities Act of 1990,

("ADA") and all other applicable Federal statutes and regulations to the extent that he has a T-10

spinal cord injury and requires a wheelchair for mobility. Prior to instituting the instant action,
             Case 4:16-cv-00842-KGB Document 1 Filed 11/16/16 Page 2 of 5




Jensen visited the Defendant's premises at issue in this matter, and was denied full, safe and equal

access to the subject property due to its lack of compliance with the ADA and the architectural

barriers to access listed in Paragraph 11 of this Complaint, which Plaintiff personally encountered.

Jensen continues to desire and intends to visit the Defendant's premises but continues to be

denied full, safe and equal access due to the barriers to access that continue to exist.

       4.        The Defendant, APPLE V ALI CREST NWA, LLC, is a domestic limited liability

company and is conducting business in the State of Arkansas. Upon information and belief, APPLE

VALI CREST NWA, LLC (hereinafter referred to as "APPLE") is the owner, lessee and/or operator

of the real property and improvements which are the subject of this action, specifically Apple Vali

shopping center, located at 800 Highway 107, Sherwood, Arkansas (hereinafter referred to as the

"Shopping Center").

       5.        All events giving rise to this lawsuit occurred in the Eastern District of Arkansas.

                             COUNT I - VIOLATION OF THE ADA

       6.        On or about July 26, 1990, Congress enacted the Americans with Disabilities Act

("ADA"), 42 U.S.C. §12181 et seq. Commercial enterprises were provided one and a halfyears from

enactment of the statute to implement its requirements. The effective date of Title III of the ADA

was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508 (A).

       7.        Pursuant to 42 U.S.C. §12101(7) and 28 C.F.R. §36.104, the Shopping Center owned

and/or operated by APPLE is a place of public accommodation in that it is a Shopping Center that is

owned and operated by a private entity that provides goods and services to the public.

        8.       Defendant has discriminated, and continues to discriminate against the Plaintiff, and

others who are similarly situated, by denying access to, and full, safe and equal enjoyment of goods,

services, facilities, privileges, advantages and/or accommodations at the Shopping Center in
             Case 4:16-cv-00842-KGB Document 1 Filed 11/16/16 Page 3 of 5




derogation of 42 U.S.C §12101 et seq.

        9.            The Plaintiffhas been unable to and continues to be unable to enjoy access to, and the

benefits of the services offered at the Shopping Center owned and/or operated by APPLE. Prior to

the filing ofthis lawsuit, Plaintiff visited the Shopping Center at issue in this lawsuit and was denied

access to the benefits, accommodations and services of the Defendant's premises and therefore

suffered an injury in fact. In addition, Plaintiff continues to desire and intends to visit the Shopping

Center, but continues to be injured in that he is unable to and continues to be discriminated against

due to the barriers to access that remain at the Shopping Center in violation of the ADA. Plaintiffhas

now and continues to have reasonable grounds for believing that he has been and will be discriminated

against because of the Defendant's continuing deliberate and knowing violations of the ADA.

        10.           Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department·

of Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

requirements of the ADA which are codified at 28 C.F.R. Part 36.

        11.           APPLE is in violationof42 U.S.C. §12181 et seq. and28 C.F.R. §36.302 et seq. and

is discriminating against the Plaintiff as a result of ;nter aUa, the following specific violations:

               (i)           All the accessible parking spaces provided have slopes that are too steep
                             for a wheelchair user;

              (ii)           There is no raised signage on any of the accessible parking spaces to
                             designate them as such;

              (iii)          There are no accessible routes from the accessible parking spaces provided
                             to the store entrances;

              (iv)           The accessible parking at Unit 18 has no adjacent access aisles necessary
                             for a wheelchair user to exit or enter a vehicle parked in the accessible
                             parking space without being blocked by a vehicle parked in an adjacent
                             parking space;

               (v)           The slope of the curb ramp at Unit 13 is too steep for a wheelchair user;




                                                        3
              Case 4:16-cv-00842-KGB Document 1 Filed 11/16/16 Page 4 of 5




               (vi)           The slopes of the flared sides of the curb ramp at Unit 6 are too steep for a
                              wheelchair user.

        12.           There may be other current barriers to access and violations of the ADA at the

Shopping Center owned and operated by APPLE which were not specifically identified herein as the

Plaintiff is not required to engage in a futile gesture pursuant to 28 C.F.R. §36.501 and, as such, only

once a full inspection is performed by Plaintiff or Plaintiff's representatives can all said violations be

identified.

        13.           To date, the barriers to access and other violations of the ADA still exist and have not

been remedied or altered in such a way as to effectuate compliance with the provisions of the ADA.

        14.           Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304, Defendant

was required to make its Shopping Center, a place of public accommodation, accessible to persons

with disabilities by January 28, 1992. To date, Defendant has failed to comply with this mandate.

        15.           Plaintiffhas been obligated to retain undersigned counsel forthe filing and prosecution

of this action. Plaintiff is entitled to have her reasonable attorney's fees, costs and expenses paid by

Defendant pursuant to 42 U.S.C. §12205.

        16.           Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

injunctive relief, including an Order to alter the subject facilities to make them readily accessible to,

and useable by, individuals with disabilities to the extent required by the ADA, and closing the subject

facilities until the requisite modifications are completed.

        WHEREFORE, the Plaintiff demands judgment against APPLE and requests the following

injunctive and declaratory relief:

                      A.      That the Court declares that the property owned and administered by
                              Defendant is violative of the ADA;

                      B.      That the Court enter an Order directing Defendant to alter its facilities
                              to make them accessible to and useable by individuals with disabilities


                                                         4
         Case 4:16-cv-00842-KGB Document 1 Filed 11/16/16 Page 5 of 5




                     to the full extent required by Title III of the ADA;

              C.     That the Court enter an Order directing Defendant to evaluate and
                     neutralize its policies and procedures towards persons with disabilities
                     for such reasonable time so as to allow them to undertake and complete
                     corrective procedures;

              D.     That the Court award reasonable attorney's fees, costs (including expert
                     fees) and other expenses of suit, to the Plaintiff; and

              E.     That the Court awards such other and further relief as it deems
                     necessary, just and proper.


       Dated this 81h day ofNovember 2016.

                                    Respectfully submitted,




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